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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   CIVIL MINUTE ORDER


DATE: January 26, 2024                              TIME IN COURT: 3 hours, 54 minutes

JUDGE: JEFFREY S. WHITE                             COURT REPORTER: Raynee Mercado

COURTROOM DEPUTY: Ki’i Kealalio-Puli

CASE NO.: 23-cv-05829-JSW

TITLE: Defense for Children International-Palestine, et al. v. Joseph R. Biden, et al.

COUNSEL FOR PLAINTIFF:                              COUNSEL FOR DEFENDANT:
The Center for Constitutional Rights                Jean Lin
Katherine Gallagher                                 Jonathan Kossak
Pamela C. Spees
Maria C. LaHood
Astha Sharma Pokharel
Diala Shamas
Baher A. Azmy
Sadaf M. Doost
Samah Sisay

Van Der Hout L.L.P.
Marc Van Der Hout
Johnny Sinodis


PROCEEDINGS: Motion Hearings: Preliminary Injunction and Motion to Dismiss

RESULTS: Motion Hearing – HELD. Witness testimony and Plaintiff exhibit 1 admitted as
stated on the record. The matter is taken under submission. A written order to follow.

Plaintiff Witnesses:
    1) Dr. Omar Al-Najjar                               6) Basim Elkarra
    2) Ahmed Abofoul                                    7) Khaled Quzmar
    3) Laila Elhaddad                                   8) Dr. Barry Trachtenberg
    4) Waeil Elbhassi
    5) Mohammad Herzallah
